                           Case 14-50333-gs                 Doc 72          Entered 06/02/14 09:56:33   Page 1 of 3



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                         Nevada Bar No. 1449
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                     6
                         Attorney for Debtors
                     7   ANTHONY THOMAS,
                         WENDI THOMAS and
                     8   AT EMERALD, LLC
                     9
                                                           UNITED STATES BANKRUPTCY COURT
                 10
                                                                          DISTRICT OF NEVADA
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                                                                                  —ooOoo—
                 12
                         In Re:                                                        Case No. BK-N-14-50333-BTB
                 13                                                                    Case No. BK-N-14-50331-BTB
                         ANTHONY THOMAS and
                 14      WENDI THOMAS,                                                 Chapter 11 Cases
                 15                                                                    [Jointly Administered]
                         AT EMERALD, LLC,
                 16                                                                    MOTION FOR EXTENSION OF
                                                                                       DEBTORS’ EXCLUSIVE TIME
                 17                                                                    PERIODS TO FILE AND OBTAIN
                                                                                       CONFIRMATION OF THEIR PLANS
                 18                           Debtors,                                 OF REORGANIZATION
                 19
                                                                                       Hearing Date: July 30, 2014
                 20      ______________________________/                               Hearing Time: 10:00 a.m.
                 21                ANTHONY THOMAS, WENDI THOMAS and AT EMERALD, LLC, Debtors
                 22      above-captioned and hereinafter collectively referred to as “Debtors,” by and through their
                 23      undersigned counsel, Holly E. Estes, Esq., of the Law Offices of Alan R. Smith, respectfully
                 24      represents as follows:
                 25                1.         Debtors filed their respective voluntary petitions under Chapter 11 of the
                 26      United States Bankruptcy Code on March 4, 2014. The Debtors are currently operating as
                 27      debtors-in-possession.
                 28      ///
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                           Case 14-50333-gs                 Doc 72          Entered 06/02/14 09:56:33   Page 2 of 3



                     1             2.         The 120-day period during which the Debtors may file plans of reorganization
                     2   expires on June 2, 2014. By this Motion, the Debtors request a 90-day extension of their
                     3   exclusivity period, to and including August 31, 2014. Debtors also seek a corresponding
                     4   extension of the time period to obtain confirmation of proposed plans of reorganization.
                     5             3.         The 90-day extension of time requested herein is necessary. The Debtors are
                     6   in need of further time because they are awaiting the sale of their personal property, an
                     7   emerald with an estimated valued at over $2,000,000.00.                          The Debtors’ plans of
                     8   reorganization are dependant upon the sale of the emerald. The Debtors are currently in
                     9   contact with potential purchasers and require further time to negotiate the sale of the emerald.
                 10      Accordingly, the Debtors require further time to prepare adequate information and formulate
                 11      plans of reorganization. The Debtors are proceeding diligently in their efforts, and believe
                 12      they will be able to formulate acceptable plans of reorganization within the extension of time
                 13      requested herein.
                 14                4.         The request set forth herein is Debtors’ first request for an extension of time
                 15      in which to file plans. It is believed that an extension of 90-days to file the plans will be
                 16      necessary. Debtors would also request an extension of the exclusivity period to obtain
                 17      confirmation of their filed plans of reorganization. Section 1121(d) of the Bankruptcy Code
                 18      authorizes the Court to grant an extension of the exclusive time period for filing and
                 19      obtaining confirmation of a debtor’s plan, assuming cause is shown therefor. Debtors believe
                 20      that cause is indicated.
                 21      ///
                 22      ///
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                           Case 14-50333-gs                 Doc 72          Entered 06/02/14 09:56:33   Page 3 of 3



                     1             WHEREFORE, Debtors respectfully request this Court enter its Order extending the
                     2   120-day exclusive time period to file their plans of reorganization, more specifically, from
                     3   June 2, 2014, to and including August 31, 2014, and further that a 90-day extension also be
                     4   granted for the corresponding exclusive period for obtaining confirmation of Debtors’ filed
                     5   plans of reorganization.
                     6             DATED this 2nd day of June, 2014.
                     7                                                             LAW OFFICES OF ALAN R. SMITH
                     8                                                             By:        /s/ Holly E. Estes
                                                                                           HOLLY E. ESTES, ESQ.
                     9                                                                     Attorney for Debtors
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